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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UMG RECORD|NGS, INC., et al.,
Plaintiffs,

vs, Civil Action No. l:|7-cv-00365-LY

GRANDE COMMUN|CATIONS

NETWORKS LLC and PATR|OT MEDIA-
CONSULT|NG, LLC.

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VJ:V`./=FJ=LC/`

Defendants.

REPLY IN SUPPORT OF NON-PARTY RECORDING INDUSTRY ASSOCIATION OF
AMERICA’S MOTI()N FOR PROTECTIVE ORDER REGARDING
DEFENDANT’S SUBPOENA FOR RULE 30(b)(6) DEPOSITION

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INTRODUCTION

Grande`s acknowledgement of RlAA’s role confirms why RlAA’s objections are proper
and its motion should be granted Grande describes “RlAA’s crucial and substantial role in
developing and maintaining this Iitigati()n.” Opposition [Dkt. 116] (“Opp.”) at l (emphasis
added). Grande also concedes that Rightscorp approached RIAA in 2016 with evidence concerning
Grande’s subscribers’ copyright int`ringement, and RIAA engaged Rightscorp as a litigation
consultant for Plaintii`fs in this litigation. Id. RlAA’s role shows that its communications with
Plaintiffs and Rightscorp are protected by the attorney-client privilege and work product
privileges, and that the wide-ranging discovery that Grande seeks is inappropriate RIAA already
has produced the evidence relevant to this case, and has agreed to put up a Rule 30(b)(6) witness
to testify about relevant. non-privileged information Grande is not entitled to more; the Court
should grant the requested protective ordcr.

ARGUMENT
I. GRANDE Is NoT ENTiTLED To TEsTiMoNY CONCERN|NG PRIvlLEGED

COMMuNicATloNs AND Wom< PRol)uCT CoMMUNlCATioNs WITH A LlTiGATloN

CoNsuLTAN'r (Ricl~iTsCoRP) RETAiNt~:n To HELP PREPARE AND PRosECuTi-: THls

LAWsulT (ToPle 3, 4, 5, 10, ANi) 22).

RlAA does not object to providing discovery of the facts underlying the Plaintift`s’ claims
to the extent RIAA knows them. But Grande evidently wants to know more than the facts; it seeks
to discover RlAA and Plaintit`t`s` litigation strategy. That is not permitted.

RIAA has produced documents related to the Rightscorp notices and downloaded
recordings that are at the heart ot`this casc. and RlAA has agreed to designate someone “to testify
generally as to non-privileged discoverable information regarding the general nature of RIAA’s

engagement of Rightscorp relating to the claims in this lawsuit against Grande.” See Ex. A,

Responses to Topics 5 and 22; Ex. D, p. 4 (revised response for several topics including Topics

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10), RIAA’s witness will testify about the documents it has produced and also will provide non-
privileged testimony on the questions that Grande identifies in its opposition. Opp. at 3.] RIAA,
however, should not be required to testify about its communications with Plaintiffs and Rightscorp
concerning this lawsuit. Those communications are protected by the attorney-client privilege, the
common interest privilege and the work product doctrine
Grande does not dispute the accuracy of the evidence that RlAA submitted in support of
its motion. RIAA attached the Plaintiffs` sworn interrogatory responses to interrogatory 20. See
Ex. B. That response states in relevant part:
Plaintiffs state as follows: ln or around .lanuary 2016, Rightscorp contacted the
Recording lndustry Association of America (“RIAA”) concerning evidence
Rightscorp possessed relating to Grande’s subscribers engaging in online copyright
infringement. including infringement of P|aintiffs’ copyrighted sound recordings,
as Well as notices and other communications that Rightscorp had sent to Grande
informing Grande of its subscribers’ infringement Plaintiffs, through RIAA,
engaged Rightscorp to provide litigation consulting services in connection with a
potential lawsuit that Plaintil"l"s ultimately brought against Grande and Patriot.
Because Rightscorp was engaged as a litigation consultant, its communications
with Plaintiffs and RIAA since .lanuary 2016 concerning the subject matter of this
lawsuit were generated in anticipation of, or in connection with, litigation, and
Rightscorp has been acting at the direction of counse|; for these reasons, such
communications are protected by the attorney-client privilege and the work product
doctrine, and will not be disclosed or provided on those grounds.
This sworn statement establishes the privileged/work product nature of the RlAA-Plaintiff-
Rightscorp communications about this lawsuit. RlAA’s communications with Plaintiffs and

Rightscorp relating to this litigation all concern seeking, providing or sharing legal advice, or

providing information and support for Plaintiffs’ attorneys (in-house, at the RIAA, and outside

 

l For this reason, Grande’s citation to S.E.(f'. v. Krame)' is misplaced There, the SEC refused to
put up any witness at all. 778 F. Supp. 2d 1320, 1328 (l\/I.D. Fla. 201]). ln contrast, RlAA’s
30(b)(6) witness will testify on a significant scope of relevant, discoverable information.

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counsel) to render legal advice. and to prepare for and then conduct this litigation, RlAA,
Rightscorp and P|aintiffs are aligned in investigating and pursuing litigation against Grande and
Patriot for facilitating the rampant infringement of Plaintiffs’ copyrighted Works.

Grande fails to address, let alone rebut, the case law RlAA cited in its motion establishing
the applicability of the privilege and work product doctrine given these facts. Mot. at 3-5 [Dkt.
107]. And the cases Grande cites actually demonstrate why the Court should grant the protective
order. In EEOC v. BD() US/l, L.L.P., the respondent resisting the EEOC’s subpoena failed to
submit any evidence establishing its privilege assertions 876 F.3d 690, 697 (5th Cir. 2018). The
ln re Veiga opinion rejected an Ecuadorian attorncy’s “unsworn (and unsigned) declaration”
containing vague and confusing information about the privilege requirements under Ecuadorian
law. 746 F. Supp. 2d 27, 37 (D.D.C. 2010). l-lere. by contrast, Plaintiffs’ verified interrogatory
responses describe the specific nature of RlAA’s engagement of Rightscorp and RlAA
communications with it and Plaintiffs about the preparation and conduct ofthis lawsuit.

Grande next cites I'nlex Rec)~eafi()n C()rp. v. '/`eam Worldwide Corp., 471 F. Supp. 2d ll
(D.D.C. 2007) to argue that RlAA. Plaintiffs and Rightscorp merely had a business, not legal,
common interest. But the Intex opinion shows that the opposite is true. There, a plaintiff and a
third-party distributor ofthe plaintist products pursued a “coordinated legal strategy” against the
defendant in a patent infringement dispute [d. at 16. The court found that while the exclusive
distribution agreement between the plaintiffand distributor was for business, not legal, purposes,
the subsequent “common interest"` agreement between the plaintiff and distributor to pursue
litigation against the defendant brought their communications under that agreement within the
privilege and work product doctrines. [c/. at 17. Incleed, the court found that the plaintiff and

distributor’s legal interests were aligned even before they signed the formal written agreement

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itself. Id. Here. RlAA, P|aintiffs, and Rightscorp were, from the outset, embarking on a
“coordinated legal strategy" with respect to litigation against Grande, and their interests were
aligned in all respects; their communications properly are protected.

II. GRANDE FAlLs To Snow THE Rl;u;v/\NCF. OF TEsTlMONY ABOUT OTHER ISPS OR

ONLlNE INFRINGEMi-:N'r DE'rECTioN CoMPANiEs OTHER THAN RlGHTsCoRP (ToPle 1,

2,3, 6, 9,12,14,16,18, AND 20).

This Court previously ruled that "'l’atriot`s interactions with other lSPs are [not] relevant
to Grande’s policies and procedures relating to copyright infringement by Grande customers.”
Order on Mot. to Compel at 2 [Dkt. 60]. By the same token, RlAA’s interactions with other lSPs
and infringement detection companies are not relevant to the question of whether Grande is liable
for copyright infringement Grande"s effort to argue otherwise is unavailing Grande claims that it
is entitled to this overbroad discovery because ol`the “admitted repository of relevant knowledge
that RlAA holds as the recording industry’s trade association and its role in instituting and
coordinating this litigation." Opp. at 6. .Iust what ‘“admitted repository” Grande is referring to is
unclear. Grande claims it needs inl"orimition about other ISPs and other infringement detection
companies to probe "the effectiveness and capabilities of copyright monitoring and detection
systems in general. and communications from other lSPs regarding these systems.” Id. But Grande

does not and cannot explain why general information about other systems (not Rightscorp’s), and

communications from other lSPs (not Grandc) concerning those other systems, has any bearing on

 

Rightscorp’s capabilities or on any other issue in this case. ln reality, such matters will Only
confuse and distract the parties, the Court, and thejury. The Court should grant the protective order

RIAA seeks on these topics.

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III. GRANDE CAN SEr.k Tr.sTlMoNv Aizour THE TECHNICAL FuNchoNAerY OF

RiGHTscoRP’s ONLiNE INi=RlNGF.iva'r DETECTION Svs'rr.ivi MoRE ACCURATELY AND

WlTH Lr.ss BURI)EN FRoM Rlc;l»n‘sCoRP RATHER THAN RIAA.

To the extent Grande seeks information that "RlAA independently acquired or generated
about the capabilities of Rightscorp`s systcin" (()pp. at 7), RlAA has agreed to testify as to non-
privileged/work product communications concerning that topic, including: (l) evidence RlAA
received from Rightscorp, and (2) RlAA's own evidence generated from Rightscorp data. See Ex.
D, p. 4; Ex. A, pp. 14-15. But Grande’s insistence that RlAA must provide a far broader scope of
information about Rightscorp has no merit.

“Where responsive information can be provided more accurater and with less burden
through one method r)_/`¢liscover_in that method should be used.” HSBC Bank USA, N.A. v. Green
Valley Pecos H()i)icou~'ne)'s /lss 'n, Im'.. No. 2116-CV-00242-.lCM-GWF, 2016 WL 6915301, at *6
(D. Nev. Nov. 2 l . 201 l) (emphasis added). Grande will be deposing Rightscorp Witnesses and can
obtain information about Rightscorp "`morc accurately and with less burden” from Rightscorp,
rather than second or third-hand information that RlAA has, if any. What is more, requiring such
testimony from RlAA necessarily will raise difficult privilege and work product issues (given the
likelihood that such testimony would involve Rightscorp’s role as a litigation consultant for this
suit). Those issues are not present when Rightscorp witnesses are asked about the technology and
its implementation The Court should grant the requested protective order on these topics.

C()NCLUSI()N

For the reasons stated herein. and those in its motion. RlAA respectfully asks that the Court

enter a protective order limiting the scope of RlA.'\`s 30(b)(6) testimony to that set forth in its

written objections and responses set forth in Exhibit A and D.

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July 20, 2018

Respectl`ully submitted,

By: As/ Roberf B. Gilmore

Pat A. Cipollone, P.C. (admitted pro hac vice)
.lonathan E. Missner (admitted pro hac vice)
Robert B. Gilmore (admitted pro hac vice)
Philip .1. O’Beirne (admitted pro hac vice)
Stein l\/litchel| Cipo|lone Beato & Missner LLP
901 15th Street, N.W., Suite 700

Washington. DC 20005

Telcphone: (202) 737-7777

Facsimilc: (202) 296-8312
pcipollone@steinmitchell.com

j m i ssner@steinmitchel|.com

rgi lmore@steinm itchel l .com
pobcirne@steinmitchell.com

Daniel C. Bitting (State Bar No. 02362480)
Paige A. Amstut'/. (State Bar No. 00796136)
Scott l)ouglass & McConnico LLP

303 Colorado Street, Suite 2400

Austin. TX 78701

'l`elephone: (5 12) 495-6300

Facsimi|e; (5 l 2) 495-6399
dbitting@scottdoug.com
painstutz@scottdoug.com

/|tfr)rne_i'.\‘_h)r RIAA

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CERTIFICATE OF SERVICE

The undersigned certifies that on .Iuly 20, 2018 all counsel of record who are deemed to
have consented to electronic service are being served with through the Court’s ECF system.

/fv/ Daniel C. Bittinq
Daniel C. Bitting

